Case 1:17-cr-00361 Document 2 Filed on 04/25/17 in TXSD Page 1 of 7

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AO 5 & 5.1 Hearings (Complaint or Indickmend). iAR S HAI G Ty 1 :
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te UNITED STATES DASTRIGH GQURF—
A 2 2017 for the APR } 9 2017

wy LO

CaseNo. (4-81 7

Charging District’s Case No.
B_I9- MI- 41

WAIVER OF RULE 5 & 5.1 HEARINGS
(Complaint or Indictment)

       
  
 

 

United States of America
v.

 

 

Fav Ley Rethay Va if
Sd

Defendant !

“ een
I understand that ] have been charged in another district, the (name of other court) £ : D , bXes

 

I have been informed of the charges and of my rights to:

(1) retain counsel or request the assignment of counsel if ] am unable to retain counsel;

(2) an identity hearing to determine whether I am the person named in the charges;

(3) production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

(4) a preliminary hearing within 14 days of my first appearance if 1 am in custody and 21 days otherwise —
unless | am ind on — to determine whether there is probable cause to believe that an offense has

(5) a hearing on any motion by the government for detention;

(6) request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

I agree to waive my right(s) to:

0 an identity hearing and production of the warrant.

a preliminary hearing.

oO
o a detention hearing. /
g- an identity hearing, production of the warrant, and any preliminary ien/hearing to which I may

be entitled in this district. I request that those hearings be held in the prosecuting district, at a time set
by that court.

I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.

Date: ANOLE KAA X
Defendant's signature

i @ of defendant's attorney

é IL Sar cS. Prolecitaa

NT
Printed name of defendant's attorney
Case 1:17-cr-00361 Document 2 Filed on 04/25/17 in TXSD_ Page 2 of 7

United States District Court--District of Arizona - Phoenix
Order Setting Conditions of Release

 

DATE: 4/19/17 CASE NUMBER: 17-8172M]J Be If - Ma- | |
USA vs. Favian Anthony Vega f x FILED LODGED
® PERSONAL RECOGNIZANCE RECEIVED COPY

OC AMOUNT OF BOND
O UNSECURED

 

O SECURED BY APR 1 9 2017
SECURITY TO BE POSTED BY
NEXT APPEARANCE as directed through counsel CLERK U S DISTRICT COURT
DISTRICT OF AR

© 401 West Washington St., Phoenix, AZ
O Goodwin & Cortez, US Post Office Bldg., Prescott, AZ, 2nd Floor

IT IS ORDERED THAT DEFENDANT IS SUBJECT TO THE FOLLOWING CONDITIONS AND SHALL:

 

 

Ri appear at all proceedings as required and to surrender for service of any sentence imposed.

Ww not commit any federal, state or local crime.

& cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C. § 14135a.

i immediately advise court, defense counsel and U.S. Attorney in writing of change in address/telephone number.

Oo maintain or actively seek verifiable employment or (combination of work/school) if defendant is physically or medically able and

provide proof of such to Pretrial Services.

not travel outside of:

except Defendant may travel directly to the prosecuting district, and through all states and counties in between the District of
Arizona and the prosecuting district, for Court purposes and lawyer conferences only unless express PRIOR Court or Pretrial
Services permission is granted to do so.

Oo

 

oO avoid all direct or indirect contact with persons who are considered alleged victim(s), potential witness(es), family members of
victim(s)/witness(es), and/or (__) the custodial parent, except Defendant may communicate with custodial parent solely for
visitation purposes with his/her minor child(dren):

report as directed to the U.S. PRETRIAL SERVICES 1-800-769-7609 or 602-322-7350.

0 report as directed to the U.S. PROBATION OFFICE 602-322-7400 and abide by all terms of conditions of Supervised
Release/Probation.

 

CQ

Oo execute an agreement to forfeit upon failing to appear as required, the bond or designated
property:

Oo be placed in the third party custody of

 

o refrain from [] any (1) excessive use of alcohol and not use or possess any narcotic or other controlled substance defined by 21
U.S.C. 802 unless prescribed for defendant by a licensed medical practitioner in the course of his/her legitimate medical practice.
This provision does not permit the use or possession of medicinal marijuana even with a physician's written certification.

| participate in drug/alcoho! counseling/treatment and submit to drug/alcohol testing, including breathalyzer testing and make
copayment toward the cost as directed by U. S. Pretrial Services. The defendant shall not interfere, obstruct or tamper in any way
with the administration of any Court ordered substance abuse testing.

®

surrender all travel documents to Pretrial Services by _ 4/21/17 by 5:00 PM and will not obtain a passport or other travel
document during the pendency of these proceedings.

obtain no passport or other travel documents during the pendency of these proceedings.
not possess or attempt to acquire any firearm, destructive device, or other dangerous weapon or ammunition.

maintain weekly contact with his/her attorney by Friday, noon of each week.

timely pay his/her monthly child support payments as previously ordered by the subject state court in the total amount of $

OoOWoa oO

actively participate in any mental health treatment program as directed by Pretrial Services. The defendant shall comply with all
treatment requirements including taking all medication as prescribed by his/her mental health care provider.

Oo

not access via computer or possess any photographs or videos of sexually explicit conduct as defined by 18 U.S.C. § 2256(2).

Oo

 

 
 

Case 1:17-cr-00361 Document 2 Filed on 04/25/17 in TXSD_ Page 3 of 7
ADVICE OF PENALTIES AND SANCTIONS B -(7-My-Y|l

The commission of any offense while on pretrial release may result in an additional sentence upon conviction for such
offense to a term of imprisonment of not more than ten years if the offense is a felony or a term of imprisonment of not
more than one year if the offense is a misdemeanor. This sentence shall be consecutive to any other term of imprisonment.

Title 18 U.S.C. §1503 makes it a criminal offense punishable by imprisonment for life or by death, or, depending
upon the specific provisions of the section not more than twenty years or by not more than ten years, and a $250,000 fine
to intimidate a juror or officer of the court; Title 18 U.S.C. §1510 makes it a criminal offense punishable by up to five
years imprisonment and a $250,000 fine to obstruct a criminal investigation; Title 18 U.S.C. §1512 makes it a criminal
offense punishable by imprisonment for life or by death, or, depending upon the specific provisions of the section by not
more than twenty years or by not more than ten years and a $250, ob fine for tampering with a witness, victim or
informant; or by intentionally harassing another person and thereby hindering /delaying /preventing or dissuading any
person from attending or testifying in an official proceeding or otherwise violating the section is punishable by
imprisonment for not more than one year and a $250,000 fine; and 18 U.S.C. §1513 makes it a criminal offense punishable
by imprisonment for life or by death, or, depending upon the specific provisions of the section not more than twenty years
or by not more than ten years of imprisonment, a fine of $250,000, or both, to retaliate against a witness, victim or
informant, or threaten or attempt to do so.

It is a criminal offense under 18 U.S.C. §3146, if after having been released, the defendant knowingly fails to
ap ear as required by the conditions of release, or to surrender for the service of sentence pursuant to a court order. Ifthe
efendant was released in connection with a charge of, or while awaiting sentence, surrender for the service ofa sentence,
or appeal or certiorari after conviction, for:(1) an offense punishable by death, life imprisonment, or imprisonment for a
term of fifteen years or more, the defendant shall be fined not more than $250,000 or imprisoned for not more than ten
years, Or bothi@) an offense punishable by imprisonment for a term of five years or more, the defendant shall be fined
not more than $250,000 or imprisoned for not more than five years or are any other felony, the defendant shall be
fined not more than $250,000 or imprisoned not more than two years, or both;(4) a misdemeanor, the defendant shall be
fined not more than $100,000 or imprisoned not more than one year, or both.

__ A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the sentence of
imprisonment for any other offense. In addition, a failure to appear may result in the forfeiture of any bail posted.

If the person was released for appearance as a material witness, a fine as provided by law or imprisonment for not
more than one year, or both.
ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to
obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. | am aware of
the penalties and sanctions set forth above.

 

DATE SIGNATURE OF DEFENDANT
49/7

 

 

 

Custodian agrees to (a) supervise the defendant in accordance with all conditions of release, (b) to use every effort to
assure the appearance of the defendant at all scheduled court proceedings, and to notify the court immediately in the event
the defendant violates any condition of release or disappears. We, the undersigned, have read and understand the terms
of this bond and conditions of release and acknowledge that we are bound by it until duly exonerated.

 

SIGNATURE OF CUSTODIAN(S)

 

 

Directions to United States Marshal:
4 The defendant is ORDERED released after processing.

0 The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial
officer that the defendant has posted bond and/or complied with all other conditions of release.

DATE:__ 4/19/17

 

_ JOHN Z. BOYLE
United States Magistrate Judge

USA, PTS/PROB, USM, DEFT, DEFT ATTY
Case 1:17-cr-00361 Document 2 Filed on 04/25/17 in TXSD Page 4of7 |
AZD PS 40 (AZD Rev. 10/12) Notice Regarding United States Passport for Criminal Defendant

UNITED STATES DISTRICT COURT

for the
District of Arizona B -(9 -Mry- 1 (
NOTICE REGARDING UNITED STATES PASSPORT FOR CRIMINAL DEFENDANT
TO: Office of Legal Affairs, Passport Services FROM: United States Pretrial Services.
U.S. Department of State Sandra Day O’Connor Courthouse, Suite 260
CA/PPT/L/LA 401 W. Washington Street, SPC|8
44132 Mercure Circle #1227 Phoenix, Arizona 85003-2119:
Sterling, VA 20166-1227 (602) 322-7350

Fax: (602) 322-7380

Original Notice

Date: April 21,2017
By: Veronica Espinosa

 

 

 

 

 

 

Defendant: Favian Anthony Vega Case Number: 0970 2:17-08172M
Date of Birth: Place of Birth: Brownsville. TX
SSN:

 

 

Notice of Court Order (Order Date: April 19, 2017)

sj The above-named defendant is not permitted to apply for the issuance of a passport and/or passport card
during the pendency of this action. |

= The above-named defendant surrendered Passport number 519737615 to the custody of the U.S. Pretrial
Services on April 21, 2017.

 

NOTICE OF DISPOSITION
The above case has been disposed of.

C1) The above order of the court is no longer in effect.

UO Defendant not convicted — Document returned to defendant.

[1 Defendant not convicted - Document enclosed for further investigation due to evidence that
the document may have been issued in a false name.

O Defendant convicted — Document and copy of judgment enclosed.

 

Distribution:

Original to case file
Department of State
Defendant (or representative)
Clerk of Court

 
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CLOSED,PASSPORT

U.S. District Court
DISTRICT OF ARIZONA (Phoenix Division)
CRIMINAL DOCKET FOR CASE #: 2:17-mj-08172-JZB All Defendants

B-)9O- MI~41)

Case title: USA v. Vega Date Filed: 04/19/2017
Other court case number: B-17-411-MJ USDC, Southern Date Terminated: 04/21/2017
District of Texas (Brownsville)

 

Assigned to: Magistrate Judge John Z
Boyle

Defendant (1)

Favian Anthony Vega represented by Susan E Anderson
73259-408 Federal Public Defenders Office -
TERMINATED. 04/21/2017 Phoenix
850 W Adams St., Ste. 201
Phoenix, AZ 85007

602-382-2700

Fax: 602-382-2800

Email: susan_anderson@fd.org
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Public Defender or
Community Defender Appointment

Pending Counts Disposition
None

Highest Offense Level (Opening)

None
Terminated Counts Disposition
None

Highest Offense Level (Terminated)

None
Complaints Disposition

Rule 5 Complaint 18:1546 Fraud and
Misuse of visas, permits, and other
documents

https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?106928975214064-L_1_ 0-1 4/25/2017
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Plaintiff
USA

@(7- Ma- Il

represented by Vincent Quill Kirby
US Attorneys Office - Phoenix, AZ
2 Renaissance Square
40 N Central Ave., Ste. 1200
Phoenix, AZ 85004-4408
602-514-7500
Fax: 602-514-7650
Email: Vincent.Kirby@usdoj.gov
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Assistant US Attorney

 

Date Filed

Docket Text

 

04/19/2017

Arrest (Rule 5 Complaint) of Favian Anthony Vega. (ESL) (Entered:
04/19/2017)

 

04/19/2017

MINUTE ENTRY for proceedings held before Magistrate Judge John Z Boyle:
Initial Appearance in Rule 5(c)(3) Proceedings as to Favian Anthony Vega held
on 4/19/2017. FINANCIAL AFFIDAVIT TAKEN. Appearance entered by
AFPD Susan E Anderson on behalf of defendant. Identity Hearing waived.
Warrant of Removal not issued. Detention Hearing submitted. Defendant ordered
released with conditions. Preliminary Hearing reserved for prosecuting district.
LATER: Defendant is scheduled to appear in the District of Texas on 5/11/17 at
10:00 AM before Magistrate Judge Ronald Morgan, Courtroom 2, 600 East
Harrison Street, Brownsville, Texas 78520. Order to follow.

Appearances: AUSA Vincent Kirby for the Government, AFPD Susan
Anderson for defendant. Defendant is present and in custody. (Recorded by
COURTSMART.) Hearing held 3:18 PM to 3:24 PM. This is a TEXT ENTRY
ONLY. There is no PDF document associated with this entry. (SMH) (Entered:
04/20/2017)

 

04/19/2017

Iw

WAIVER of Rule 5(c)(3) Hearing by Favian Anthony Vega. (SMH) (Entered:
04/20/2017)

 

04/19/2017

In

ORDER Setting Conditions of Release as to Favian Anthony Vega. Signed by
Magistrate Judge John Z Boyle on 4/19/17. (SMH) (Entered: 04/20/2017)

 

04/21/2017

Im

NOTICE re: PASSPORT as to Favian Anthony Vega. Defendant is not permitted
to apply for the issuance of a passport and/or passport card during the pendency
of this action. (PTS-VE, ) (Entered: 04/21/2017)

 

04/21/2017

loo

ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
WHERE CHARGES ARE PENDING - Southern District of Texas as to Favian
Anthony Vega. Signed by Magistrate Judge John Z Boyle on 4/20/2017. (CIS)
(Entered: 04/21/2017)

 

 

 

 

 

https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?106928975214064-L_1 0-1 4/25/2017
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B-17-ms- 41
04/21/2017 9 | Notice to Southern District of Texas of a Rule 5 or Rule 32 Initial Appearance as
to Favian Anthony Vega. Your case number is: B-17-411-MJ. Please use

PACER Court Links to access the public docket and documents. Any necessary
sealed or ex parte documents will be sent in a separate e-mail.

(if you wish to designate a different email address for future transfers, please
send your request to the national list host at
InterdistrictTransfer_TXND@txnd.uscourts. gov.) (CIS) (Entered: 04/21/2017)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PACER Service Center
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